Case 1:14-ml-02570-RLY-TAB Document 16351
                                    15228 Filed 03/23/21
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                                 104176
                                 107267

                                                                             APPROVED. Case is
                                                                             dismissed with prejudice.
                         IN THE UNITED STATES DISTRICT COURT
                                                                             Dated: 3/23/2021
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

_______________________________________
IN RE: COOK MEDICAL, INC., IVC FILTERS
MARKETING, SALES PRACTICES AND                               Case No. 1:14-ml-2570-RLY-TAB
PRODUCTS LIABILITY LITIGATION                                                  MDL No. 2570
_______________________________________

This Document Relates to Plaintiff:
Kathleen Bringhurst Morris
Civil Case No. 1:20-cv-01771
______________________________________________________________________________


               NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

       COMES NOW, Plaintiff Kathleen Bringhurst Morris, by and through the undersigned

counsel, pursuant to paragraph 3 of Case Management Order 28, “Screening for Time-Barred

Cases” (“CMO 28”), and hereby respectfully gives notice of the voluntary dismissal with prejudice

of the above-styled lawsuit (Civil Action No. 1:20-cv-01771) as to defendants Cook Incorporated,

Cook Medical LLC and William Cook Europe ApS. In accordance with CMO 28, each side will

bear its own costs and attorney’s fees.

Date: 12/20/2020                            Respectfully submitted,

                                            THE NATIONS LAW FIRM

                                              /s/ Howard L. Nations
                                            Howard L. Nations
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